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                         Exhibit B
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                    STATE OF CONNECTICUT


              PUBLIC UTILITIES REGULATORY AUTHORITY
                       TEN FRANKLIN SQUARE
                       NEW BRITAIN, CT 06051



DOCKET NO. 06-12-07RE07 APPLICATION OF LIBERTY POWER HOLDINGS, LLC
                        FOR AN ELECTRIC SUPPLIER LICENSE - REVIEW
                        OF ALLEGATIONS OF CONSUMER PROTECTION
                        VIOLATIONS




                              July 31, 2019

                     By the following Commissioners:


                            Michael A. Caron
                            John W. Betkoski, III




                              DECISION
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believe that Liberty writes the policies simply to defend itself from allegations of
wrongdoing and to placate regulators who attempt to investigate it. Moreover, when
presented with evidence of blatant violations of statutes during the hearings in this matter,
Liberty often tried to excuse the behavior of its agents. See e.g., Transcript p. 657-663.
Such actions do not indicate a good-faith effort to achieve compliance, nor the ability to
ensure future compliance.

        The Authority also notes that Liberty has exhibited a disrespect for this adjudicative
body and this investigation. Liberty designated the same witness as responsible for all of
its interrogatory answers, but hearings clearly revealed she had limited to no knowledge
of many of the interrogatories. OCC’s first series of questions to Liberty during the
hearings illustrated that Liberty did not provide its regulatory and compliance personnel
as part of the hearing panel and that the panel had not reviewed the interrogatory
questions prior to the hearing. Transcript p. 467, Lines 20-21 (“There’s the primary
resource for regulatory and compliance --- is not on this panel.”), p. 471-473, 718-719.
Multiple times the panel indicated that it was not familiar with a document in the record or
if the document was correct. See e.g., Transcript p. 475-76. Throughout the hearing, it
was shown that Liberty supplied inaccurate information in its interrogatory answers –
information that was readily contradicted by its witnesses. This leads the Authority to
wonder who prepared Liberty’s interrogatory answers and if Liberty takes seriously its
obligations regarding candor to this tribunal. Moreover, Liberty revised many of its
interrogatory answers multiple times (the last revision coming at 8:16 p.m. the night before
the first hearing), not due to updates in policies, but due either to inaccuracies in the
original answers or Liberty’s desire to tweak the answers to serve its needs. Liberty hid
behind the volume of interrogatories (a volume of which the Authority was well aware as
it read and studied every interrogatory prior to the hearings) and claimed that it was not
required to leave no stone unturned in responding to an interrogatory. Transcripts p. 266.
Yet during the hearing Liberty witnesses were able to recall multiple incidents that should
have been revealed in interrogatory answers. The Authority doubts it would require
unearthing any stones to find information so readily recalled when questioned.

       The Authority also notes Liberty’s history of noncompliance with other legal
obligations. Liberty has recently been subject to another civil penalty for an attempted
back-billing scheme that violated Conn. Gen. Stat. § 16-259a(d) and would have
generated bills greater than $5,000 for many customers. Docket No. 06-12-07RE05,
Application of Liberty Power Holdings, LLC for an Electric Supplier License – Re-billing.
This blatant violation, when coupled with the new allegations cited herein, call into
question Liberty’s managerial capabilities in maintaining its electric supplier license in
Connecticut and its dedication to properly serving Connecticut customers.

       Liberty’s violations in the present case go to the heart of the intent of the electric
supplier market. The Connecticut legislature set forth a statutory scheme to balance the
benefits of electric supply with the customer protections necessary to facilitate a fair
market. If suppliers are allowed to systemically violate the legal protections created by
the legislature, it erodes confidence in the entire supplier market. The Authority’s
response to such violations will take into consideration the harm they cause to customers
and to the market as a whole.
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 DOCKET NO. 06-12-07RE07 APPLICATION OF LIBERTY POWER HOLDINGS, LLC
                         FOR AN ELECTRIC SUPPLIER LICENSE - REVIEW
                         OF ALLEGATIONS OF CONSUMER PROTECTION
                         VIOLATIONS

This Decision is adopted by the following Commissioners:




                      Michael A. Caron


                      John W. Betkoski, III




                              CERTIFICATE OF SERVICE

         The foregoing is a true and correct copy of the Decision issued by the Public
Utilities Regulatory Authority, State of Connecticut, and was forwarded by Certified Mail
to all parties of record in this proceeding on the date indicated.




                                                                     July 31, 2019
           Jeffrey R. Gaudiosi, Esq.                                 Date
           Executive Secretary
           Public Utilities Regulatory Authority
